                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

THOMAS E. RHONE

V                                       CIVIL ACTION NO. 3:21-cv-00074

CITY OF TEXAS CITY, TEXAS



                THOMAS E. RHONE’S MOTION FOR EXTENTION
                     TO FILE SUPPLEMENTAL BRIEF
                             (UNOPPOSED)



      Plaintiff and Respondent Thomas E. Rhone hereby requests an extension to

and including Monday, June 27 in which to file his supplementary brief in the

above matter.

      The Court previously ordered supplemental briefs to be filed on or before

this date, June 24.

      During the intervening 30 days, this counsel has been called to trial in two

court appointed criminal cases before juries. In the practice of local state courts,

calls to trial cannot be accurately predicted in advance because the dockets are

dependent on the disposal of other cases with earlier numerical filing numbers.


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Specifically this counsel has been called to trial in the following cases:

◼ Nos. 21CR1833, 21cr1834, State v. Isaiah Chambers-Ansell (Armed

   Robbery, Evading) in the 10th District Court with trial conducted May 31

   through June 2; and

   ◼ No. 20CR2000, State v. Xavier Reyna, in the 56th District Court with

jury trial June 1-23(family violence/occlusion of breath or blood). The

Reyna case has occupied the week immediately preceding the due date of

June 24.

   Opposing counsel does not oppose this request. However, it is requested

that any extension be mutual for the benefit of both counsel. However, it is

also requested that any extension be applicable to both parties.

      This motion is not filed solely for the purpose of delay, but so that

justice may be served. This counsel has devoted all available time to

composing the supplemental brief, largely with case authorities previously

known and cited in other cases. It is estimated that the supplemental brief at

this time is approximately 50% finished and can be finished by Monday,

June 27.




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                                          Prayer

             Rhone through his counsel prays for an extension through and

      including Monday, June 27, 2022 in which both parties may file their

      supplemental briefs.

                                                            Respectfully Submitted,
                                                              Mark W. Stevens
                                                                 Mark W. Stevens
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                                                                     Fed.No. 1953
                                                                  P.O. Box 16138
                                                           Galveston, Texas 77552
                                                                     409 765 6306
                                                                Fax 409 765 6569
                                                   Email: mark@mstevenslaw.com
                                                              Counsel for Plaintiff

                             Certificate of Conference

      I certify that I have conferred with Opposing Counsel Kyle E. Dickson by
telephone and email during the prior week and during this week on June 23, 2022,
and Counsel Dickson does not oppose this motion.


                                                            Respectfully Submitted,
                                                              Mark W. Stevens
                                 Certificate of Service
      I certify that a true and correct copy of the foregoing instrument was served
via email PDF to Mr. Kyle Dickson, email kdickson@murray-lobb.com, 2200
Space Park Drive, Suite 350, Houston, Texas 77058, on October 27, 2021.

                                                            Respectfully Submitted,
                                                              Mark W. Stevens

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